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                                                          UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF SOUTH CAROLINA


 IN RE:                                                                          CASE NO: 14-02169
                                                                                 CHAPTER: 13

             David Ashley Lehr
             Laura Ann Lehr
                                                                                DEBTORS’ STATEMENT
                                                                      DEBTOR(S) IN SUPPORT OF CONFIRMATION




In connection with the plan dated May 27, 2014, the debtor(s) hereby state that they understand the following:

            (1) The obligations set forth in the plan, including the amount, method, and timing of payments made to the
            trustee and/or directly to creditors;

            (2) The consequences of any default under the plan including the direct payments to creditors; and

            (3) That debtor(s) may not agree to sell property, or sell property, employ professionals, or incur debt (including
            modification of debt) during the term fo the plan without the advance authorization of the Bankruptcy Court.

    Date May 27, 2014                                                            By: /s/ David Ashley Lehr
                                                                                     Debtor

    Date May 27 , 2014                                                           By: /s/ Laura Ann Lehr
                                                                                     Joint Debtor




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